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  From: gsimas@vgcllp.com
Subject: Diaz v. Heredia: Draft Protective Order
   Date: February 2, 2022 at 2:08 PM
     To: Eric Montalvo emontalvo@fedpractice.com, Eric Clarke eclarke@inceptionreit.com, Rajan Dhungana rdhungana@fedpractice.com
    Cc: James Greeley jgreeley@vgcllp.com, Christy Jones cjones@vgcllp.com, Diyari Vazquez dvazquez@vgcllp.com


       All,

       During our meet and confer last week, I agreed to provide you with a draft Joint
       Stipulation for Protective Order It is attached. Please review. If acceptable, please sign
       and return. We will thereafter sign and file it with the Court. If you have any questions,
       please let me know. Thanks.

       Sincerely,

       Gina

       Gina Simas l Litigation Partner




       1515 7th Street, No. 106
       Santa Monica, CA 90401
       T: 424 272 9855
       www.vgcllp.com

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 1 James L. Greeley (SBN 218975)
       jgreeley@vgcllp.com
 2
     Diyari Vázquez (SBN 222461)
 3     dvazquez@vgcllp.com
     Gina Simas (SBN 205367)
 4
       gsimas@vgcllp.com
 5   VGC, LLP
     1515 7th Street, No. 106
 6
     Santa Monica, California 90401
 7   Telephone: (424) 272-9885
 8
     Attorneys for Plaintiff, JOSEPH DIAZ, JR.

 9 Rajan O. Dhungana (SBN: 297794)
     rdhungana@fedpractice.com
10 Eric S. Montalvo (Pro Hac Vice)
11 emontalvo@fedpractice.com
     FEDERAL PRACTICE GROUP
12 14481 Aspen Street
13 Hesperia, CA 92344
     Telephone: (310) 795-6905
14 Attorneys for Defendants, Ralph Heredia and Heredia Boxing

15 Management
16
17                            UNITED STATES DISTRICT COURT
18                        CENTRAL DISTRICT OF CALIFORNIA

19                                 EASTERN DISTRICT

20 JOSEPH DIAZ, JR.,                             CASE NO. 5:20-cv-02332-JWH-KK

21               Plaintiff,
                                                 JOINT STIPULATION FOR
22         v.                                    PROTECTIVE ORDER AND
                                                 [PROPOSED] ORDER
   RALPH HEREDIA, true name RAFAEL
23
   HEREDIA TARANGO, a/k/a RAFAEL
24 HEREDIA, a/k/a RAFAEL
25
   BUSTAMANTE; JOHN DOE, ESQ.; and
   JANE DOES 1 through 20, inclusive,            Courtroom:       2
26                                               Judge:           Hon. John W. Holcomb
                 Defendants.
27
28


                                    Joint Stipulation For Protective Order And [Proposed] Order
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 1   1.     PURPOSES AND LIMITATIONS
 2         Disclosure and discovery activity in this action are likely to involve production
 3 of confidential, proprietary, or private information for which special protection from
 4 public disclosure and from use for any purpose other than prosecuting this litigation
 5 may be warranted. Accordingly, the parties hereby stipulate to and petition the court

 6 to enter the following Stipulated Protective Order. The parties acknowledge that this
 7 Order does not confer blanket protections on all disclosures or responses to discovery
 8 and that the protection it affords from public disclosure and use extends only to the

 9 limited information or items that are entitled to confidential treatment under the
10 applicable legal principles. The parties further acknowledge, as set forth in Section
11 12.3, below, that this Stipulated Protective Order does not entitle them to file
12 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
13 that must be followed and the standards that will be applied when a party seeks
14 permission from the court to file material under seal.
15   2.    DEFINITIONS
16          2.1    Challenging Party: a Party or Non-Party that challenges the designation
17 of information or items under this Order.
18          2.2    “CONFIDENTIAL” Information or Items: information (regardless of
19 how it is generated, stored or maintained) or tangible things that qualify for protection
20 under Federal Rule of Civil Procedure 26(c).
21          2.3    Counsel (without qualifier): Outside Counsel of Record and House
22 Counsel (as well as their support staff).
23          2.4    Designating Party: a Party or Non-Party that designates information or
24 items    that it produces in disclosures or in responses to discovery as
25 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
26 ONLY.”
27          2.5    Disclosure or Discovery Material: all items or information, regardless
28 of the medium or manner in which it is generated, stored, or maintained (including,


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 1 among other things, testimony, transcripts, and tangible things), that are produced or

 2 generated in disclosures or responses to discovery in this matter.
 3          2.6   Expert: a person with specialized knowledge or experience in a matter
 4 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
 5 expert witness or as a consultant in this action.

 6          2.7   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 7 Information or Items: extremely sensitive “Confidential Information or Items,”
 8 disclosure of which to another Party or Non-Party would create a substantial risk of

 9 serious harm that could not be avoided by less restrictive means.
10          2.8   House Counsel: attorneys who are employees of a party to this action.
11 House Counsel does not include Outside Counsel of Record or any other outside
12 counsel.
13          2.9   Non-Party: any natural person, partnership, corporation, association, or
14 other legal entity not named as a Party to this action.
15          2.10 Outside Counsel of Record: attorneys who are not employees of a party
16 to this action but are retained to represent or advise a party to this action and have
17 appeared in this action on behalf of that party or are affiliated with a law firm which
18 has appeared on behalf of that party.
19          2.11 Party: any party to this action, including all of its officers, directors,
20 employees, consultants, retained experts, and Outside Counsel of Record (and their
21 support staffs).
22          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
23 Discovery Material in this action.
24          2.13 Professional Vendors: persons or entities that provide litigation support
25 services   (e.g., photocopying, videotaping, translating, preparing exhibits or
26 demonstrations, and organizing, storing, or retrieving data in any form or medium) and
27 their employees and subcontractors.
28          2.14 Protected Material:       any Disclosure or Discovery Material that is

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 1 designated as, referred to or considered “CONFIDENTIAL” or as “HIGHLY

 2 CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 3          2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 4 from a Producing Party.
 5          3.     SCOPE
 6        The protections conferred by this Stipulation and Order cover not only
 7 Protected Material (as defined above), but also (1) any information copied or extracted
 8 from Protected Material; (2) all copies, excerpts, summaries, or compilations of

 9 Protected Material; and (3) any testimony, conversations, or presentations by Parties
10 or their Counsel that might reveal Protected Material. However, the protections
11 conferred by this Stipulation and Order do not cover the following information: (a)
12 any information that is in the public domain at the time of disclosure to a Receiving
13 Party or becomes part of the public domain after its disclosure to a Receiving Party as
14 a result of publication not involving a violation of this Order, including becoming part
15 of the public record through trial or otherwise; and (b) any information known to the
16 Receiving Party prior to the disclosure or obtained by the Receiving Party after the
17 disclosure from a source who obtained the information lawfully and under no
18 obligation of confidentiality to the Designating Party. Any use of Protected Material
19 at trial shall be governed by a separate agreement or order.
20          4.     DURATION
21        Even after final disposition of this litigation, the confidentiality obligations
22 imposed by this Order shall remain in effect until a Designating Party agrees otherwise
23 in writing or a court order otherwise directs. Final disposition shall be deemed to be
24 the later of (1) dismissal of all claims and defenses in this action, with or without
25 prejudice; and (2) final judgment herein after the completion and exhaustion of all
26 appeals, rehearings, remands, trials, or reviews of this action, including the time limits
27 for filing any motions or applications for extension of time pursuant to applicable law.
28 ///


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 1   5.     DESIGNATING PROTECTED MATERIAL
 2          5.1   Exercise of Restraint and Care in Designating Material for Protection.
 3          Each Party or Non-Party that designates information or items for protection
 4 under this Order must take care to limit any such designation to specific material that
 5 qualifies under the appropriate standards. The Designating Party must designate for

 6 protection only those parts of material, documents, items, or oral or written
 7 communications that qualify – so that other portions of the material, documents, items,
 8 or communications for which protection is not warranted are not swept unjustifiably

 9 within the ambit of this Order.
10        Mass, indiscriminate, or routinized designations are prohibited. Designations
11 that are shown to be clearly unjustified or that have been made for an improper purpose
12 (e.g., to unnecessarily encumber or retard the case development process or to impose
13 unnecessary expenses and burdens on other parties) expose the Designating Party to
14 sanctions.
15        If it comes to a Designating Party’s attention that information or items that it
16 designated for protection do not qualify for protection, that Designating Party must
17 promptly notify all other Parties that it is withdrawing the mistaken designation.
18        5.2     Manner and Timing of Designations.
19        Except as otherwise provided in this Order (see, e.g., second paragraph of
20 section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery
21 Material that qualifies for protection under this Order must be clearly so designated
22 before the material is disclosed or produced.
23        Designation in conformity with this Order requires:
24        (a)     for information in documentary form (e.g., paper or electronic
25 documents, but excluding transcripts of depositions or other pretrial or trial
26 proceedings), that the Producing Party affix the legend “CONFIDENTIAL” or
27 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that
28 contains protected material. If only a portion or portions of the material on a page


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 1 qualifies for protection, the Producing Party also must clearly identify the protected

 2 portion(s) (e.g., by making appropriate markings in the margins).
 3        A Party or Non-Party that makes original documents or materials available for
 4 inspection need not designate them for protection until after the inspecting Party has
 5 indicated which material it would like copied and produced. During the inspection and

 6 before the designation, all of the material made available for inspection shall be
 7 deemed “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 8 EYES ONLY.” After the inspecting Party has identified the documents it wants copied

 9 and produced, the Producing Party must determine which documents, or portions
10 thereof, qualify for protection under this Order. Then, before producing the specified
11 documents, the Producing Party must affix the “CONFIDENTIAL” or “HIGHLY
12 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” legend to each page that contains
13 Protected Material. If only a portion or portions of the material on a page qualifies for
14 protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,
15 by making appropriate markings in the margins).
16        (b)      For Testimony given in depositions the Designating Party may either:
17                 i.    identify on the record, before the close of the deposition, all
18 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
19 ONLY” Testimony, by specifying all portions of the Testimony that qualify as
20 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
21 ONLY;” or
22                 ii.   designate the entirety of the Testimony at the deposition as
23 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
24 ONLY” (before the deposition is concluded) with the right to identify more specific
25 portions of the Testimony as to which protection is sought within 30 days following
26 receipt of the deposition transcript. In circumstances where portions of the deposition
27 Testimony     are designated for protection, the transcript pages containing
28 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES


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 1 ONLY” Information may be separately bound by the court reporter, who must affix

 2 to   the top of each page the legend “CONFIDENTIAL” or “HIGHLY
 3 CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” as instructed by the Designating
 4 Party.
 5          (c)    for information produced in some form other than documentary and for
 6 any other tangible items, that the Producing Party affix in a prominent place on the
 7 exterior of the container or containers in which the information or item is stored the
 8 legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 9 ONLY.” If only a portion or portions of the information or item warrant protection,
10 the Producing Party, to the extent practicable, shall identify the protected portion(s).
11          5.3    Inadvertent Failures to Designate.
12          An inadvertent failure to designate qualified information or items does not,
13 standing alone, waive the Designating Party’s right to secure protection under this
14 Order for such material. Upon timely correction of a designation, the Receiving Party
15 must make reasonable efforts to assure that the material is treated in accordance with
16 the provisions of this Order.
17                  6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
18           6.1   Timing of Challenges.      Any Party or Non-Party may challenge a
19 designation of confidentiality at any time. Unless a prompt challenge to a Designating
20 Party’s confidentiality designation is necessary to avoid foreseeable, substantial
21 unfairness, unnecessary economic burdens, or a significant disruption or delay of the
22 litigation, a Party does not waive its right to challenge a confidentiality designation by
23 electing not to mount a challenge promptly after the original designation is disclosed.
24           6.2   Meet and Confer. The Challenging Party shall initiate the dispute
25 resolution process by providing written notice of each designation it is challenging and
26 describing the basis for each challenge. To avoid ambiguity as to whether a challenge
27 has been made, the written notice must recite that the challenge to confidentiality is
28 being made in accordance with this specific paragraph of the Protective Order. The


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 1 parties shall attempt to resolve each challenge in good faith and must begin the process

 2 by conferring directly (in voice to voice dialogue; other forms of communication are
 3 not sufficient) within 14 days of the date of service of notice. In conferring, the
 4 Challenging Party must explain the basis for its belief that the confidentiality
 5 designation was not proper and must give the Designating Party an opportunity to

 6 review the designated material, to reconsider the circumstances, and, if no change in
 7 designation is offered, to explain the basis for the chosen designation. A Challenging
 8 Party may proceed to the next stage of the challenge process only if it has engaged in

 9 this meet and confer process first or establishes that the Designating Party is unwilling
10 to participate in the meet and confer process in a timely manner.
11          6.3   Judicial Intervention. If the Parties cannot resolve a challenge without
12 court intervention, the Designating Party shall file and serve a motion to retain
13 confidentiality under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-
14 5, if applicable) within 21 days of the initial notice of challenge or within 14 days of
15 the parties agreeing that the meet and confer process will not resolve their dispute,
16 whichever is earlier. Each such motion must be accompanied by a competent
17 declaration affirming that the movant has complied with the meet and confer
18 requirements imposed in the preceding paragraph. Failure by the Designating Party to
19 make such a motion including the required declaration within 21 days (or 14 days, if
20 applicable) shall automatically waive the confidentiality designation for each
21 challenged designation. In addition, the Challenging Party may file a motion
22 challenging a confidentiality designation at any time if there is good cause for doing
23 so, including a challenge to the designation of a deposition transcript or any portions
24 thereof. Any motion brought pursuant to this provision must be accompanied by a
25 competent declaration affirming that the movant has complied with the meet and
26 confer requirements imposed by the preceding paragraph.
27          The burden of persuasion in any such challenge proceeding shall be on the
28 Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,


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  1 to harass or impose unnecessary expenses and burdens on other parties) may expose

  2 the Challenging Party to sanctions. Unless the Designating Party has waived the
  3 confidentiality designation by failing to file a motion to retain confidentiality as
  4 described above, all parties shall continue to afford the material in question the level
  5 of protection to which it is entitled under the Producing Party’s designation until the

  6 court rules on the challenge.
  7          7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  8          Basic Principles. A Receiving Party may use Protected Material that is
  9 disclosed or produced by another Party or by a Non-Party in connection with this case
 10 only for prosecuting, defending, or attempting to settle this litigation. Such Protected
 11 Material may be disclosed only to the categories of persons and under the conditions
 12 described in this Order. When the litigation has been terminated, a Receiving Party
 13 must comply with the provisions of section 13 below (FINAL DISPOSITION).
 14        Protected Material must be stored and maintained by a Receiving Party at a
 15 location and in a secure manner that ensures that access is limited to the persons
 16 authorized under this Order.
 17        7.2     Disclosure of “CONFIDENTIAL” Information or Items. Information
 18 designated as “CONFIDENTIAL” produced pursuant to this Order may be disclosed
 19 or made available only to the persons designated below:
 20                (a)    Retained counsel and in-house counsel for a Party (including
 21 attorneys associated with the law firm of counsel and the paralegal, clerical, and
 22 secretarial staff employed by such counsel who are directly participating in the
 23 captioned lawsuit);
 24                (b)    A Party and its affiliates, officers, directors, agents and
 25 employees of a Party deemed reasonably necessary by counsel for the Party to aid in
 26 the prosecution, defense, or settlement of the captioned lawsuit; provided, however,
 27 that prior to the disclosure of Confidential Materials to any such officer, director,
 28 partner, member, employee or agent, counsel for the Party making the disclosure shall


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  1 deliver a copy of this Stipulation and Protective Order to such person, shall explain

  2 that such person is bound to follow the terms of such Order, and shall secure the
  3 signature of such person on a statement in the form attached hereto as Appendix A;
  4                (c)    Clerical, data processing, or technology support personnel,
  5 including third party vendors, involved in the production, reproduction, organizing,

  6 filing, coding, cataloging, converting, storing, retrieving, and review of discovery
  7 material, to the extent reasonably necessary to assist a Party or its counsel in the
  8 captioned lawsuit;

  9                (d)    This Court and any other court, tribunal or dispute resolution
 10 officer duly appointed, chosen or assigned in connection with the captioned lawsuit,
 11 their respective personnel, and the jury in the captioned lawsuit;
 12                (e)    Court reporter(s) and videographers(s) preparing transcripts in the
 13 captioned lawsuit;
 14                (f)    Outside consultants or Experts retained for the purpose of this
 15 Action, provided that, before access is given, the Party shall deliver a copy of this
 16 Stipulation and Protective Order to such person, shall explain that such person is bound
 17 to follow the terms of such Order, and shall secure the signature of such person on a
 18 statement in the form attached hereto as Appendix A. It shall be the obligation of
 19 counsel, upon learning of any breach or threatened breach of this Stipulation and
 20 Protective Order by any such expert or outside consultant, to promptly notify counsel
 21 for the Designating Party of such breach or threatened breach;
 22                (g)    A witness appearing at a deposition or non-trial hearing witness
 23 in this matter; provided, however, that each such witness given access to Confidential
 24 Materials shall be advised that such materials are being disclosed pursuant to, and are
 25 subject to, the terms of this Stipulation and Protective Order and that they may not be
 26 Disclosed other than pursuant to its terms;
 27                (h)    The original author or source of the Confidential Information, and
 28 any addressee(s) or recipient(s) of communications or material that is designated as


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  1 Confidential Information, including but not limited to addressee(s) or recipient(s) of

  2 confidential e-mail communications and/or confidential correspondence;
  3                (i)    Any other person as to whom the parties in writing agree or to
  4 whom production is ordered by any Court or administrative body of competent
  5 jurisdiction; and

  6                (j)    Any governmental agency or regulating authority to the extent
  7 disclosure is required by applicable law.
  8        7.3     Use of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  9 Information or Items. For Confidential Information designated as “HIGHLY
 10 CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” access to, and disclosure of, such
 11 Protected Material shall be limited as follows:
 12                (a)    Trial Counsel for the Parties, their partners and associates, and
 13 staff and supporting personnel of such attorneys, such as paralegal assistants,
 14 secretarial, stenographic and clerical employees and contractors, and outside copying
 15 services, who are working on the above-captioned lawsuit under the direction of such
 16 attorneys and to whom it is necessary that the “HIGHLY CONFIDENTIAL –
 17 ATTORNEYS’ EYES ONLY” be disclosed for purposes of the above-captioned
 18 lawsuit. Such employees, assistants, contractors and agents to whom such access is
 19 permitted and/or disclosure is made shall, prior to such access or disclosure, be advised
 20 of, and become subject to, the provisions of this Protective Order. “Trial Counsel,” for
 21 purposes of this Paragraph, shall mean outside retained counsel and shall not include
 22 in-house counsel to the undersigned Parties and the paralegal, clerical and secretarial
 23 staff employed by such in-house counsel;
 24                (b)    Experts or outside consultants consulted by the undersigned
 25 Parties or their counsel in connection with the above-captioned lawsuit, whether or not
 26 retained to testify at any oral hearing; provided, however, that prior to the Disclosure
 27 of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to any such expert
 28 or expert consultant, counsel for the Party making the Disclosure shall deliver a copy


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  1 of this Stipulation and Protective Order to such person, shall explain its terms to such

  2 person, and shall secure the signature of such person on a statement in the form
  3 attached hereto as Appendix A prior to the Disclosure of “HIGHLY CONFIDENTIAL
  4 – ATTORNEYS’ EYES ONLY.” It shall be the obligation of Trial Counsel, upon
  5 learning of any breach or threatened breach of this Stipulation and Protective Order by

  6 any such expert or expert consultant, to promptly notify Trial Counsel for the
  7 Designating Party of such breach or threatened breach.             Provided, however, that
  8 Experts or outside consultants allowed access to “HIGHLY CONFIDENTIAL –

  9 ATTORNEYS’ EYES ONLY” designated by the Parties shall not be officers,
 10 directors, partners, members, affiliates, employees or contractors of the other Party;
 11                (c)    The original author or source of the “HIGHLY CONFIDENTIAL
 12 – ATTORNEYS’ EYES ONLY,” and any addressee(s) or recipient(s) of
 13 communications or material that is designated as “HIGHLY CONFIDENTIAL –
 14 ATTORNEYS’ EYES ONLY,” including but not limited to addressee(s) or
 15 recipient(s)   of    confidential     e-mail     communications        and/or     confidential
 16 correspondence;
 17                (d)    Clerical, data processing, or technology support personnel,
 18 including third party vendors, involved in the production, reproduction, organizing,
 19 filing, coding, cataloging, converting, storing, retrieving, and review of discovery
 20 material, to the extent reasonably necessary to assist a Party or its counsel in the
 21 captioned lawsuit;
 22                (e)    A witness appearing at a deposition or non-trial hearing witness
 23 in this matter; provided, however, that each such witness given access to Confidential
 24 Materials shall be advised that such materials are being disclosed pursuant to, and are
 25 subject to, the terms of this Stipulation and Protective Order and that they may not be
 26 Disclosed other than pursuant to its terms;
 27 ///
 28 ///


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  1                 (f)   Any other person as to whom the parties in writing agree or to
  2 whom production is ordered by any Court or administrative body of competent
  3 jurisdiction;
  4                 (g)   Court reporters in the above-captioned lawsuit (whether at
  5 depositions, hearings, or any other proceeding); and

  6                 (h)   The Court.
  7   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
  8         OTHER LITIGATION
  9         If a Party is served with a subpoena or a court order issued in other litigation
 10   that compels disclosure of any information or items designated in this action as
 11   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 12   ONLY” that Party must:
 13              (a)      promptly notify in writing the Designating Party. Such
 14 notification shall include a copy of the subpoena or court order;
 15              (b)      promptly notify in writing the party who caused the subpoena or
 16 order to issue in the other litigation that some or all of the material covered by the
 17 subpoena or order is subject to this Protective Order. Such notification shall include a
 18 copy of this Stipulated Protective Order; and
 19              (c)      cooperate with respect to all reasonable procedures sought to be
 20 pursued by the Designating Party whose Protected Material may be affected.
 21              (d)      If the Designating Party timely seeks a protective order, the Party
 22 served with the subpoena or court order shall not produce any information designated
 23 in     this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 24 ATTORNEYS’ EYES ONLY” before a determination by the court from which the
 25 subpoena or order issued, unless the Party has obtained the Designating Party’s
 26 permission. The Designating Party shall bear the burden and expense of seeking
 27 protection in that court of its confidential material – and nothing in these provisions
 28 ///


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  1 should be construed as authorizing or encouraging a Receiving Party in this action to

  2 disobey a lawful directive from another court.
  3   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
  4          IN THIS LITIGATION
  5   (a)     The terms of this Order are applicable to information produced by a Non-Party
  6   in this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL
  7   – ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in
  8   connection with this litigation is protected by the remedies and relief provided by this
  9   Order. Nothing in these provisions should be construed as prohibiting a Non-Party
 10   from seeking additional protections.
 11           (b)   In the event that a Party is required, by a valid discovery request, to
 12           produce a Non-Party’s confidential information in its possession, and the Party
 13           is subject to an agreement with the Non-Party not to produce the Non-Party’s
 14           confidential information, then the Party shall:
 15                 (1) promptly notify in writing the Requesting Party and the Non-Party
 16 that some or all of the information requested is subject to a confidentiality agreement
 17 with a Non-Party;
 18                 (2) promptly provide the Non-Party with a copy of the Stipulated
 19 Protective Order in this litigation, the relevant discovery request(s), and a reasonably
 20 specific description of the information requested; and
 21                 (3) make the information requested available for inspection by the Non-
 22 Party.
 23          (c)    If the Non-Party fails to object or seek a protective order from this court
 24 within 14 days of receiving the notice and accompanying information, the Receiving
 25 Party may produce the Non-Party’s confidential information responsive to the
 26 discovery request. If the Non-Party timely seeks a protective order, the Receiving Party
 27 shall not produce any information in its possession or control that is subject to the
 28 confidentiality agreement with the Non-Party before a determination by the court.


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  1 Absent a court order to the contrary, the Non-Party shall bear the burden and expense

  2 of seeking protection in this court of its Protected Material.
  3   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  4        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  5 Protected Material to any person or in any circumstance not authorized under this

  6 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
  7 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
  8 all unauthorized copies of the Protected Material, (c) inform the person or persons to

  9 whom unauthorized disclosures were made of all the terms of this Order, and (d)
 10 request such person or persons to execute the “Acknowledgment and Agreement to Be
 11 Bound” that is attached hereto as Exhibit A.
 12   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 13        PROTECTED          MATERIAL
 14        When a Producing Party gives notice to Receiving Parties that certain
 15 inadvertently produced material is subject to a claim of privilege or other protection,
 16 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 17 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 18 may be established in an e-discovery order that provides for production without prior
 19 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 20 parties reach an agreement on the effect of disclosure of a communication or
 21 information covered by the attorney-client privilege or work product protection, the
 22 parties may incorporate their agreement in the stipulated protective order submitted to
 23 the court.
 24   12. MISCELLANEOUS
 25        12.1     Right to Further Relief. Nothing in this Order abridges the right of any
 26 person to seek its modification by the court in the future.
 27        12.2     Right to Assert Other Objections. By stipulating to the entry of this
 28 Protective Order no Party waives any right it otherwise would have to object to


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  1 disclosing or producing any information or item on any ground not addressed in this

  2 Stipulated Protective Order. Similarly, no Party waives any right to object on any
  3 ground to use in evidence of any of the material covered by this Protective Order.
  4        12.3    Filing Protected Material. Without written permission from the
  5 Designating Party or a court order secured after appropriate notice to all interested

  6 persons, a Party may not file in the public record in this action any Protected Material.
  7 A Party that seeks to file under seal any Protected Material must comply with Civil
  8 Local Rule 79-5. Protected Material may only be filed under seal pursuant to a court

  9 order authorizing the sealing of the specific Protected Material at issue. Pursuant to
 10 Civil Local Rule 79-5, a sealing order will issue only upon a request establishing that
 11 the Protected Material at issue is privileged, protectable as a trade secret, or otherwise
 12 entitled to protection under the law. If a Receiving Party's request to file Protected
 13 Material under seal pursuant to Civil Local Rule 79-5(d) is denied by the court, then
 14 the Receiving Party may file the information in the public record pursuant to Civil
 15 Local Rule 79-5(e) unless otherwise instructed by the court.
 16        12.4    Any Party to the Proceeding who has not executed this Stipulation and
 17 Protective Order as of the time it is presented to the Court for signature may thereafter
 18 become a Party to this Stipulation and Protective Order by its counsel’s signing and
 19 dating a copy thereof and filing the same with the Court, and serving copies of such
 20 signed and dated copy upon the other Parties to this Stipulation and Protective Order.
 21        12.5    Nothing in this Stipulation and Protective Order shall affect the
 22 admissibility into evidence of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 23 ATTORNEYS’ EYES ONLY”, or abridge the rights of any person to seek judicial
 24 review or to pursue other appropriate judicial action with respect to any ruling made
 25 by the Court concerning the issue of the status of any “CONFIDENTIAL” or
 26 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
 27        12.6    After this Stipulation and Protective Order has been signed by counsel
 28 for all Parties, it shall be presented to the Court for entry. Counsel agree to be bound


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  1 by the terms set forth herein with regard to any “CONFIDENTIAL” or “HIGHLY

  2 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that have been produced before
  3 the Court signs this Stipulation and Protective Order.
  4        12.7     The Parties and all signatories to the Certification attached hereto as
  5 Exhibit A agree to be bound by this Stipulation and Protective Order pending its

  6 approval and entry by the Court. In the event that the Court modifies this Stipulation
  7 and Protective Order, or in the event that the Court enters a different Protective Order,
  8 the Parties agree to be bound by this Stipulation and Protective Order until such time

  9 as the Court may enter such a different Order. It is the Parties’ intent to be bound by
 10 the terms of this Stipulation and Protective Order pending its entry so as to allow for
 11 immediate production of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 12 ATTORNEYS’ EYES ONLY” under the terms herein.
 13   13. FINAL DISPOSITION
 14        Within 60 days after the final disposition of this action, as defined in paragraph
 15 4, each Receiving Party must return all Protected Material to the Producing Party or
 16 destroy such material. As used in this subdivision, “all Protected Material” includes all
 17 copies, abstracts, compilations, summaries, and any other format reproducing or
 18 capturing any of the Protected Material. Whether the Protected Material is returned or
 19 destroyed, the Receiving Party must submit a written certification to the Producing
 20 Party (and, if not the same person or entity, to the Designating Party) by the 60 day
 21 deadline that (1) identifies (by category, where appropriate) all the Protected Material
 22 that was returned or destroyed and (2) affirms that the Receiving Party has not retained
 23 any copies, abstracts, compilations, summaries or any other format reproducing or
 24 capturing any of the Protected Material. Notwithstanding this provision, Counsel are
 25 entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and
 26 hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,
 27 expert reports, attorney work product, and consultant and expert work product, even if
 28 such materials contain Protected Material. Any such archival copies that contain or


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  1 constitute Protected Material remain subject to this Protective Order as set forth in

  2 Section 4 (DURATION).
  3        This Stipulation and Protective Order may be executed in counterparts.
  4
  5       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  6 DATED: ____________________          ________________________________
                                            James L. Greeley
  7                                         Diyari Vázquez
                                            Gina Simas
  8                                         Attorneys for Plaintiff
                                            JOSEPH DIAZ, JR.
  9
 10
 11 DATED: ____________________          ________________________________
                                            Eric S. Montalvo
 12                                         Rajan O. Dhungana
                                            Attorneys For Defendants
 13                                         RALPH HEREDIA AND
                                            HEREDIA BOXING MANAGEMENT
 14
 15
 16       PURSUANT TO STIPULATION, IT IS SO ORDERED.
 17 DATED: ____________________          ________________________________
                                            Honorable Kenly Kiya Kato
 18                                         United States District Court
                                            Central District of California
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  1                                       EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3        I, _____________________________           [print or    type   full name], of
  4 ____________________________________ [print or type full address], declare under
  5 penalty of perjury that I have read in its entirety and understand the Stipulated
  6 Protective Order that was issued by the United States District Court for the Central
  7 District of California on ___________________in the case of Joseph Diaz, Jr. v. Ralph
  8 Heredia et al., Case No. Case No. 5:20-cv-02332- JWH-KK. I agree to comply with
  9 and to be bound by all the terms of this Stipulated Protective Order and I understand
 10 and acknowledge that failure to so comply could expose me to sanctions and
 11 punishment in the nature of contempt. I solemnly promise that I will not disclose in
 12 any manner any information or item that is subject to this Stipulated Protective Order
 13 to any person or entity except in strict compliance with the provisions of this Order.
 14        I further agree to submit to the jurisdiction of the United States District Court
 15 for the Central District of California for the purpose of enforcing the terms of this
 16 Stipulated Protective Order, even if such enforcement proceedings occur after
 17 termination of this action.
 18        I hereby appoint __________________________ [print or type full name] of
 19 _______________________________________ [print or type full address and
 20 telephone number] as my California agent for service of process in connection with
 21 this action or any proceedings related to enforcement of this Stipulated Protective

 22 Order.
 23
 24 Date: ______________________________________
 25 City and State where sworn and signed: _________________________________
 26
 27 Printed name: _______________________________
 28 Signature: __________________________________
                                                18
                                     NOTICE OF ATTORNEY’S LIEN
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                                CERTIFICATE OF SERVICE
  1
  2        I, Diyari Vázquez, hereby certify that on May 4, 2022, I electronically filed the
  3 foregoing with the Clerk of the Court using the CM/ECF system, which will send
  4 notification of such filing to the e-mail addresses denoted on the Electronic Mail Notice
  5 List, and I hereby certify that I have mailed the foregoing document to the non-
  6 CM/ECF participants indicated on the Manual Notice List.
  7
  8 Dated: May 4, 2022                 By:    /s/
  9                                                 Diyari Vázquez

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                                      NOTICE OF ATTORNEY’S LIEN
